
The principle settled in Fairfax v. Muse’s Executors, (a) and recognised in the preceding case of Ellzey v. Dane’s Executrix, decided the present cause. It was an appeal to the Superior Court of Chancery for the Williamsburgh District, taken by the defendants from a decree of the County Court of Sussex, foreclosing the equity of redemption in mortgaged premises, and appointing commissioners to make sale, &amp;c. The Chancellor dismissed the bill for want of proper parties, and the complainant in the Court below (the appellee in the Superior Court of Chancery) took an appeal to this Court. But, on the ground that the decree of the County Court was but interlocutory, and that the law did not authorise appeals from such decrees of County Courts, even during term time, (b) it was decided that the Superior Court of Chancery had no jurisdiction of the cause, and should have dismissed the appeal.
By the whole Court, (absent JUDGE DYONS,) the decree of the Superior Court of Chancery reversed, and appeal from the County Court dismissed.

 Ante, p. 558.


 See Rev. Code, vol. 1, c. 223, p. 375.

